                                                          Case 8:19-cv-01998-MWF-KS Document 168-1 Filed 07/24/20 Page 1 of 4 Page ID #:5248



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                                                                                                 Attorneys for Defendants True Count
                                                                                            10   Staffing, Inc., Albert Kim, Kaine Wen,
                                                                                                 and Relief Defendant Infinite Management
                                                                                            11   Corp.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                            UNITED STATES DISTRICT COURT
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                          CENTRAL DISTRICT OF CALIFORNIA
                                                                             310-229-9900




                                                                                            14   Bureau of Consumer Financial                 CASE NO. 8:19-cv-01998-MWF(KSx)
                                                                                                 Protection; State of Minnesota, by its
                                                                                            15   Attorney General, Keith Ellison; State of    Hon. Michael W. Fitzgerald
                                                                                                 North Carolina, ex rel. Joshua H. Stein,     Courtroom 5A – First Street
                                                                                            16   Attorney General; and The People of The
                                                                                                 State of California, Michael N. Feuer,       DECLARATION OF GERALD S.
                                                                                            17   Los Angeles City Attorney,                   SACHS IN SUPPORT OF MOTION
                                                                                                                                              TO WITHDRAW AS COUNSEL OF
                                                                                            18                   Plaintiffs,                  RECORD FOR DEFENDANTS
                                                                                                                                              TRUE COUNT STAFFING, INC.,
                                                                                            19              v.                                ALBERT KIM, KAINE WEN, AND
                                                                                                                                              RELIEF DEFENDANT INFINITE
                                                                                            20   Consumer Advocacy Center Inc., d/b/a         MANAGEMENT CORP.
                                                                                                 Premier Student Loan Center; True
                                                                                            21   Count Staffing Inc., d/b/a SL Account        Date:             August 31, 2020
                                                                                                 Management; Prime Consulting LLC,            Time:             10:00 a.m.
                                                                                            22   d/b/a Financial Preparation Services;        Crtrm:            5A
                                                                                                 TAS 2019 LLC d/b/a Trusted Account
                                                                                            23   Services; Horizon Consultants LLC;           Action Filed:     October 21, 2019
                                                                                                 First Priority LLC d/b/a Priority
                                                                                            24   Account Management; Albert Kim,
                                                                                                 a/k/a Albert King; Kaine Wen, a/k/a
                                                                                            25   Wenting Kaine Dai, Wen Ting Dai, and
                                                                                                 Kaine Wen Dai; and Tuong Nguyen,
                                                                                            26   a/k/a Tom Nelson,
                                                                                            27                   Defendants, and
                                                                                            28   Infinite Management Corp., f/k/a
                                                                                                 Infinite Management Solutions Inc.;
                                                                                                 49652057
                                                                                                                               DECLARATION OF GERALD S. SACHS I/S/O MOTION TO WITHDRAW
                                                          Case 8:19-cv-01998-MWF-KS Document 168-1 Filed 07/24/20 Page 2 of 4 Page ID #:5249



                                                                                                 Hold The Door, Corp.; TN
                                                                                             1   Accounting Inc.; Mice and Men
                                                                                                 LLC; 1st Generation Holdings, LLC;
                                                                                             2   Sarah Kim, and Anan Enterprise,
                                                                                                 Inc.,
                                                                                             3
                                                                                                            Relief Defendants.
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                                         DECLARATION OF GERALD S. SACHS I/S/O MOTION TO WITHDRAW
                                                          Case 8:19-cv-01998-MWF-KS Document 168-1 Filed 07/24/20 Page 3 of 4 Page ID #:5250



                                                                                             1                          DECLARATION OF GERALD S. SACHS
                                                                                             2              I, Gerald S. Sachs, declare as follows:
                                                                                             3              1.    I am an attorney at law and a Partner at the law firm Venable LLP
                                                                                             4   (“Venable”), counsel of record for Defendants True Count Staffing, Inc. (“True
                                                                                             5   Count”), Albert Kim, Kaine Wen, and Relief Defendant Infinite Management
                                                                                             6   Corp. (“Infinite”) (collectively, “Defendants”). I have personal knowledge of the
                                                                                             7   facts stated herein, and if called as a witness, I could and would testify competently
                                                                                             8   thereto.
                                                                                             9              2.    On July 16, 2020 (among other instances), I requested that Defendants
                                                                                            10   consent to Venable’s withdrawal from representation as their counsel of record in
                                                                                            11   the above-captioned matter. I conferred with counsel for the Receiver appointed
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   over True Count regarding whether the Receiver would consent to Venable’s
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   withdrawal from representation of True Count. I further advised True Count and
                                                                             310-229-9900




                                                                                            14   Infinite of the consequences of their inability to appear pro se if Venable withdrew
                                                                                            15   from representation. True Count, Infinite, Mr. Kim, and Mr. Wen informed me
                                                                                            16   that they do not consent to Venable’s withdrawal. Counsel for the Receiver
                                                                                            17   informed me that it consents to Venable’s withdrawal.
                                                                                            18              3.    An actual conflict of interest has recently arisen between and among
                                                                                            19   Defendants that prevents Venable from continuing to represent Defendants, and
                                                                                            20   prevents Venable from being able to simultaneously satisfy its duties of loyalty and
                                                                                            21   confidentiality to each of Defendants. That conflict of interest also materially
                                                                                            22   limits Venable’s ability to effectively represent each of them.
                                                                                            23              4.    Due to the above-referenced conflicts, I do not believe that Venable
                                                                                            24   can provide competent and diligent representation as to each of Defendants if
                                                                                            25   representation were to continue.
                                                                                            26              5.    Due to the above-referenced conflicts, communications between
                                                                                            27   Venable and Defendants have broken down, such that Venable is no longer able to
                                                                                            28   effectively represent Defendants without unreasonable difficulty.

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                                                                                                                                 DECLARATION OF GERALD S. SACHS I/S/O MOTION TO WITHDRAW
                                                          Case 8:19-cv-01998-MWF-KS Document 168-1 Filed 07/24/20 Page 4 of 4 Page ID #:5251



                                                                                             1              6.    Conflicts and breakdown in communication aside, and while not the
                                                                                             2   basis for Venable’s withdrawal, it bears noting that Defendants have a significant
                                                                                             3   outstanding balance for work performed by Venable on this matter and have not
                                                                                             4   indicated any willingness or ability to pay those fees or any fees for future work.
                                                                                             5              I declare under penalty of perjury under the laws of the United States of
                                                                                             6   America that the foregoing is true and correct.
                                                                                             7              Executed on July 24, 2020, at Washington, D.C.
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                                                                                            10                                         Gerald S. Sachs
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              2049 CENTURY PARK EAST, SUITE 2 300




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VENABLE LLP




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                                                                                                                                DECLARATION OF GERALD S. SACHS I/S/O MOTION TO WITHDRAW
